Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 1 of 32 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF
                                  NEW YORK


 THE FORTUNE SOCIETY, INC.
 29-76 Northern Blvd.
 Long Island City, NY 11101

               Plaintiff,                    Civil Action No. 1:22-cv-06584

        v.

 iAFFORD NY, LLC
 670 Myrtle Ave., #134
 Brooklyn, NY 11205

              Defendant.




                            COMPLAINT AND JURY DEMAND




                                        1
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 2 of 32 PageID #: 2




                                        INTRODUCTION

       1.       The Fortune Society (“Fortune”) brings this suit pursuant to the Fair Housing

Act of 1968, as amended, 42 U.S.C. §§ 3601 et seq., the New York State Human Rights Law,

NY Exec. Law § 296(A), and the New York City Human Rights Law, NYC Admin. Code § 8-

107(5), for injunctive, monetary, and declarative relief against Defendant iAfford NY, LLC

(“iAfford”) for engaging in a pattern or practice of illegal discrimination on the basis of race,

color, and national origin in the marketing and screening of affordable housing units.

       2.       Fortune is a not-for-profit organization that for over fifty years has been

dedicated to the successful reentry and reintegration of formerly incarcerated individuals in New

York City (“the City”). It is one of the leading organizations in the country addressing and

helping individuals overcome reentry issues.

       3.       Fortune serves approximately 9,000 clients in a typical year, approximately 90%

of whom are Black or Latino.1 Among the comprehensive services it offers its clients, one of

Fortune’s principal tasks is to secure housing for its clients and their families. Fortune not only

operates its own housing facilities, but it also works to place its clients in permanent housing,

including in New York City-assisted affordable housing units. Placing clients in external

housing both advances Fortune’s central mission and has the practical benefit of freeing up more

room in Fortune’s own housing facilities, thereby enabling Fortune to serve more clients.

       4.       As an official marketing agent and monitor for New York City’s Department of

Housing Preservation and Development (“HPD”), Defendant iAfford manages the selection

process for hundreds, if not thousands of City-assisted affordable housing units in more than



1
 Throughout this Complaint, except where otherwise noted, “white” refers to non-Hispanic
white, “Black” refers to non-Hispanic African American/Black, and “Latino” refers to
Hispanic/Latino of any race.
                                                 2
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 3 of 32 PageID #: 3




100 developments across the City. Despite HPD’s explicit prohibition of discrimination against

applicants based on their criminal justice involvement, iAfford maintains a practice of

excluding justice-involved individuals from renting the affordable housing units in its portfolio.

This practice amounts to a blanket ban—iAfford rejects all applicants with a criminal record

regardless of the nature of the conviction, age at the time of the offense, or evidence of

rehabilitation, among other relevant factors.

       5.       Fortune learned about this practice in the course of its regular activities assisting

clients in the search for affordable housing opportunities. In April 2021, a client staying at a

temporary shelter applied to an iAfford-marketed apartment. With a City-sponsored rental

assistance voucher and meeting other qualifications, he was eager to find an apartment that

would allow him to get back on his feet. But iAfford denied his application at the pre-screening

stage solely because he had a past conviction. iAfford did not engage in an individualized

assessment of his case. Nor did it respond to his efforts to appeal his denial and demonstrate his

suitability for the unit. Because of his criminal justice involvement, he was summarily rejected.

       6.       Given the implications of this rejection for one of Fortune’s core projects—

finding housing for formerly incarcerated individuals—Fortune was compelled to investigate the

scope of iAfford’s conduct. In three recorded calls between August and December 2021, three

different iAfford employees corroborated that iAfford maintains a practice of categorically

discouraging and/or rejecting applicants with a record of criminal conviction.

       7.       Defendant’s practice has the purpose and effect of discriminating against Black

and Latino prospective applicants, including Fortune’s clients, who are disproportionately

represented in the justice-involved population.

       8.       Locally and nationally, blanket bans like the one maintained and enforced by



                                                  3
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 4 of 32 PageID #: 4




Defendant have a clear and unlawful disparate impact on Black and Latino individuals. The

disproportionate rates of conviction and incarceration of Black and Latino people, as compared

to white people, are well-documented. Banning people from safe and affordable housing based

solely on a criminal conviction thus has a predictable and significant adverse impact on Black

and Latino individuals.

       9.       In fact, because of these well-established racial disparities among individuals

with criminal records, Defendant’s blanket ban operates to exclude income-eligible Black and

Latino individuals from living in its marketed properties at substantially higher rates than that at

which white individuals are excluded.

       10.      There exists an obvious and ready-made less discriminatory alternative for

contending with any concerns raised by applicants with criminal records: individualized review.

HPD has long required its marketing agents to evaluate applicants’ justice involvement

consistent with guidance issued by the U.S. Department of Housing and Urban Development

(“HUD”) in April 2016 and reaffirmed in June 2022, both of which recommend individualized

review as a less discriminatory alternative. As of August 2021, HPD actually requires all

marketing agents to engage in an individualized review of an applicant’s justice involvement,

which should be well known to iAfford because it serves as an HPD compliance monitor. By

imposing a blanket ban, iAfford is in clear violation of HUD and HPD requirements and

knowingly excludes a disproportionate number of Black and Latino applicants.

       11.      iAfford’s actions have directly and significantly diminished and frustrated

Fortune’s ability to provide safe and stable housing for its clients. iAfford’s actions have also

caused Fortune to expend substantial additional resources to identify alternative housing

options for its clients and to increase its housing advocacy efforts. iAfford’s practices have



                                                 4
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 5 of 32 PageID #: 5




further forced Fortune to divert resources from other programmatic activities to investigate and

counteract iAfford’s discriminatory conduct.

       12.      Plaintiff Fortune accordingly brings this suit against Defendant iAfford to (1)

prevent Defendant from continuing its discriminatory and unlawful conduct at the affected

properties and ensure that applicants injured by iAfford’s practices will have a meaningful

opportunity to secure desperately needed affordable rental housing; and (2) redress the harm

Fortune has suffered as a direct result of Defendant’s conduct.

                                            PARTIES

       13.      Plaintiff The Fortune Society, Inc. is a not-for-profit corporation organized

under the laws of New York State with headquarters in Long Island City and offices throughout

New York City. Fortune is dedicated to assisting formerly incarcerated individuals and their

families through advocacy and the provision of reentry services, including housing,

employment assistance, substance abuse counseling, and other services.

        14.     Defendant iAfford NY, LLC is a New York limited liability company

 headquartered in Brooklyn, NY. Its address for service of process on file with the New York

 State Department of State is 670 Myrtle Ave., #134, Brooklyn, NY, United States, 11205.

 iAfford was founded on November 21, 2018.

        15.     In acting or omitting to act as alleged herein, Defendant was acting through its

 employees and/or agents and is liable on the basis of the acts and omissions thereof.

        16.    In acting or omitting to act as alleged herein, each employee or officer of Defendant

 was acting in the course and scope of his or her actual or apparent authority pursuant to such

 agencies, or the alleged acts or omissions of each employee or officer as an iAfford agent were

 subsequently ratified and adopted by Defendant as principal.



                                                5
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 6 of 32 PageID #: 6




                                 JURISDICTION AND VENUE

           17.   This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 3613. This

 Court also has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because the claims alleged herein

 arise under the laws of the United States. This Court has supplemental jurisdiction over the

 NewYork State Human Rights Law (“NYSHRL”) and New York City Human Rights Law

 (“NYCHRL)” claims pursuant to 28 U.S.C. § 1367.

           18.   Venue is proper in this district under 28 U.S.C. § 1391(b) because Defendant

 conducts business in and is a resident of the district and a substantial part of the events and

 omissions giving rise to the claims occurred in the district.

                                   FACTUAL BACKGROUND

 I.        THE FORTUNE SOCIETY SERVES INCARCERATED AND FORMERLY
           INCARCERATED INDIVIDUALS

          19.    Founded in 1967, The Fortune Society’s mission is to help incarcerated and

formerly incarcerated individuals become contributing members of society and to offer

alternatives to incarceration. Fortune offers a holistic array of programs for formerly

incarcerated, low-income persons in New York City through a “one-stop shop” model of

services that includes housing, case management, counseling, education, employment services,

substance abuse treatment, family services, health services, and mental health services, among

others.

          20.    Fortune serves approximately 9,000 individuals annually. Black and Latino

individuals comprise over 90% of Fortune’s clients.

          21.    Because of the vital importance of safe and stable housing to successful reentry,

one of Fortune’s principal tasks is to secure housing for its clients and their families. This is

central to Fortune’s mission. Many of Fortune’s housing programs work together as a pipeline,

                                                  6
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 7 of 32 PageID #: 7




with individuals moving from emergency to “phased permanent” to permanent housing as part

of their successful reintegration.

           22.    At any point in time, Fortune provides temporary or permanent housing for

more than 300 formerly incarcerated people. Fortune provides emergency and transitional

housing to formerly incarcerated individuals experiencing homelessness, and it also owns and/or

operates two housing facilities providing permanent housing options for its clients. Given the

outsized need for permanent housing options, Fortune has a pipeline to add three additional

permanent housing facilities.

           23.    Demand for emergency beds at Fortune-run housing facilities is always high

because many people are released every week from jail and prison into New York with no viable

housing options. Fortune’s emergency housing unit is typically filled to capacity, and Fortune is

frequently forced to turn people away due to a lack of space. Fortune’s permanent housing

facilities have similarly limited capacity, with demand far exceeding available units. Thus,

Fortune cannot rely on its own facilities alone to provide permanent housing to most of its

clients.

           24.    Fortune therefore seeks to provide safe and stable permanent housing for its

clients through the private rental housing market throughout New York City.

           25.   The lack of affordable housing options available to the formerly incarcerated in

New York City severely hampers Fortune’s housing pipeline. While Fortune’s model is to move

individuals housed in the emergency unit to transitional or external permanent housing within

approximately 45 days, individuals often stay in the emergency unit for as many as eight or nine

months. Similarly, the process of finding and moving from transitional to permanent housing

often takes a year or more. These delays are largely driven by a lack of affordable housing



                                                 7
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 8 of 32 PageID #: 8




opportunities and blanket bans that exclude individuals with criminal histories from living in

rental housing.

II.      iAFFORD ACTS AS A GATEKEEPER TO CITY-FUNDED AFFORDABLE
         HOUSING OPPORTUNITIES

        26.       As a marketing agent, iAfford manages the application and selection process for

City-assisted affordable housing units in more than 100 developments throughout more than 40

neighborhoods across New York City’s five boroughs. iAfford also serves as a marketing

monitor for developments with City-assisted units and is therefore tasked with monitoring

developers’ compliance with affordable housing regulations and HPD requirements.

         A.       iAfford Is a Marketing Agent Required to Meet HPD Policies in Managing
                  the Application and Selection Process for Affordable Housing Units.

        27.       iAfford is retained by developers who participate in the Affordable New York

Housing Program (“ANY”). ANY is a residential property tax exemption program, which grants

tax breaks to private developers of new residential properties in exchange for owners’ allocation

of 25-30% of the dwelling units as affordable housing. These units are then rented to eligible

applicants through the NYC Housing Connect lottery system (“Housing Connect”), an online

application system for City-assisted permanent affordable housing.

        28.       HPD-approved marketing agents like iAfford facilitate and manage the

marketing and resident selection for these developments in accordance with HPD policies,

requirements, and procedures. This role may be filled by developers, owners, sponsors of

projects, or third-party agents; iAfford is the latter.

        29.       As a third-party agent retained by developers, iAfford acts as an intermediary

between developers in the ANY program looking to find tenants, and HPD, which fields

applicants from its Housing Connect portal. iAfford boasts that it is “HPD approved and well



                                                   8
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 9 of 32 PageID #: 9




versed in the Affordable Housing field.” iAfford “deal[s] with the applicants to ensure

eligibility[,]” handling everything “[f]rom document collection and verification … to finally

signing leases.” iAfford’s “strategy” includes “invest[ing] in the most advanced software, which

enables [it] to speedily filter through thousands of tenant applicants….”

        30.      Prospective tenants apply to iAfford-marketed units through Housing Connect.

iAfford then pre-screens and evaluates their applications and determines if they meet the

developers’ or owners’ requirements. iAfford has discretion to reject applications at that stage.

Only if iAfford determines that the applicant meets the developers’ requirements does it refer

their application to HPD for final review. iAfford thus acts as a gatekeeper for prospective

applicants attempting to secure a City-assisted affordable apartment in the developments it

markets.

        31.      Nearly every day, iAfford markets properties with available units through

Housing Connect’s open lotteries. iAfford’s reach is far and wide, with a portfolio of more than

100 developments that offer hundreds, if not thousands of City-assisted affordable housing units.

           B.    iAfford Is a Marketing Monitor Tasked With Ensuring
                 Compliance With ANY Requirements and Affordable Housing
                 Regulations.

        32.      In addition to acting as a marketing agent, iAfford is an HPD-approved

marketing monitor, responsible for monitoring compliance with the ANY program and

affordable housing regulations. The ANY program requires that all participating owners or

developers execute a monitoring contract with HPD-approved marketing monitors, such as

iAfford, who in turn agree to ensure compliance with relevant regulations, including those

relating to the leasing of units to eligible applicants.

        33.      In advertising its services, iAfford assures developers that it complies with



                                                   9
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 10 of 32 PageID #: 10




 affordable housing rules and regulations, and that it can help them do so as well. Throughout the

 benefit period of up to 35 years post-construction, iAfford claims to ensure “consistent

 compliance,” including “[m]onthly rent roll collection, quarterly rent roll submissions to HPD

 and re-marketing the affordable unit vacancies pursuant to HPD requirements.” iAfford

 advertises that it “knows the roads, follows the rules, and does it right. Always.”

  III.    FORTUNE WAS UNABLE TO ASSIST ITS CLIENTS WITH
          RENTING AFFORDABLE APARTMENTS BECAUSE OF iAFFORD’S
          BLANKET CRIMINAL RECORDS BAN

         34.     In the course of its regular activities assisting clients to secure housing, in April

 2021, Fortune became aware that iAfford discourages and/or categorically rejects applicants

 based on justice involvement. Fortune assisted a formerly incarcerated client living in a

 temporary shelter who applied to rent a City-assisted affordable housing unit marketed by

 iAfford. The client was eager to find a permanent housing option that would provide much-

 desired stability and independence. He had a City-sponsored rental assistance voucher and was

 able to cover the rent amount. He met all the stated requirements for the apartment, and he

 completed all necessary portions of the application.

         35.     The client was surprised and disappointed to learn that his application was

 denied at the pre-screening stage, solely based on his criminal justice involvement. The pre-

 screening report stated: “Applicant is rejected based on criminal convictions revealed in the pre-

 screening report.”

         36.     With Fortune’s assistance, the client repeatedly contacted iAfford to inquire

 about the process to appeal his denial. He received no response. He was not allowed an

 opportunity to provide any information about the circumstances of his years-old conviction, nor

 was he allowed to demonstrate that he was qualified to rent the apartment.



                                                  10
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 11 of 32 PageID #: 11




        37.       Given the potential implications of this rejection for Fortune’s efforts to find

 affordable housing for the formerly incarcerated individuals it serves, Fortune was compelled to

 investigate the scope of iAfford’s conduct to determine whether this was an isolated instance, or

 a company policy.

        38.       In August 2021, a Fortune staff member contacted iAfford to inquire about its

 policy on applicants with criminal justice involvement. In a recorded call, an iAfford Project

 Manager replied that “usually people with criminal backgrounds are rejected, like overall.” The

 Project Manager represented that this policy applied to all of iAfford’s properties, and that this

 policy was in line with HPD guidelines and criteria. The Project Manager further discouraged

 Fortune clients from applying because “it’s a long process and then at the end, they’re going to

 be like, aww, I’m rejected. They know all along . . . that they are criminals . . . .”

        39.       To confirm whether this blanket ban was categorically applied to potential

 renters and applicants, Fortune engaged an independent fair housing organization, the Fair

 Housing Justice Center (“FHJC”), to conduct two additional recorded tests.

        40.       In September 2021, an FHJC tester called iAfford to inquire about its policy

 regarding criminal convictions. In a recorded call, another iAfford Project Manager informed the

 tester, “if there is any criminal background on [an applicant’s] credit report, then we are forced

 to reject their application.” The Project Manager asserted that the type and length of time of the

 conviction did not matter. Moreover, the Project Manager claimed that “it’s not iAfford’s policy

 but it’s HPD’s….”

        41.       In December 2021, a second tester from FHJC called iAfford with a similar

 inquiry. In a recorded call, the tester asked about iAfford’s policy on felony convictions. An

 iAfford Applicant File Analyst replied, “when they do a credit check if your criminal record



                                                   11
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 12 of 32 PageID #: 12




 shows up on your credit report, then that is going to make you ineligible to proceed.” When

 asked to clarify if this rule applied to all convictions (including misdemeanors), the Applicant

 File Analyst twice confirmed that was the case. The iAfford employee represented that in

 categorically excluding applicants with a criminal record, iAfford was following Housing

 Connect policies.

        42.          iAfford’s message to prospective tenants—conveyed by three separate

 employees in three different recorded calls—was clear: If you have any past convictions, you

 will be rejected.

  IV.     iAFFORD’S BLANKET BAN AGAINST JUSTICE-INVOLVED INDIVIDUALS
          CONSTITUTES UNLAWFUL DISCRIMINATION

        43.          Facially neutral housing practices that have a disparate impact on the basis of

 race, color, or national origin are prohibited by the Fair Housing Act (“FHA”) and New York

 fair housing laws unless they are necessary to achieve a legitimate business purpose that cannot

 be satisfied through a less discriminatory alternative practice. Policies that categorically deny

 housing to people with criminal records, including the blanket ban maintained and enforced by

 iAfford, are unlawful under this standard. Such policies have a severe disparate impact on

 Black and Latino individuals, and any legitimate safety concerns can be satisfied through the

 less discriminatory alternative of giving individualized consideration to each potential

 resident’s circumstances and qualifications as a tenant.

          A.         Blanket Bans Based on Criminal History Disproportionately and Severely
                     Impact Black and Latino Individuals.

        44.          Racial disparities in the criminal justice system are well-established, persistent,

 and widely known. Black and Latino individuals are incarcerated at rates significantly

 disproportionate to their numbers in the United States general population. As of 2020, at the



                                                     12
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 13 of 32 PageID #: 13




 national level, the overall rate of incarceration of Black individuals was 5.12 times that of white

 individuals, while the rate of incarceration of Latino individuals was 2.43 times the rate of

 white individuals.2

        45.      Men overwhelmingly comprise the nation’s population of imprisoned people,

 and the disparities by race are especially stark among the male population. According to a

 recent research effort on incarceration and conviction disparities, compared to white men,

 Black men are 3.7 times more likely to have at least one felony conviction by age 30, while

 Latino men are 2.3 times more likely.3 Racial disparities are even larger for rates of

 incarceration in state prison by age 30, with Black men being almost five times more likely to

 have been incarcerated than white men, and Latino men being three times as likely.

        46.      These disparities persist among released people. Nationally, more than half a

 million people are released from confinement each year.4 Largely because the imprisoned

 population as a whole is disproportionately Black and Latino and 95% of the imprisoned

 population is eventually released,5 65% of the formerly incarcerated population in the United

 States is Black or Latino.6

        47.      At the New York State level, racial disparities in criminal justice involvement




 2
   See E. Ann Carson, U.S. Dep’t of Just., Prisoners in 2020, Bureau of Justice Statistics (Dec.
 2021), available at https://bjs.ojp.gov/content/pub/pdf/p20st.pdf.
 3
   Michael Mueller-Smith & Keith Finlay, Inequalities in U.S. Criminal Justice and Economic
 Outcomes (Oct. 2020).
 4
   Carson, supra note 2, at 19.
 5
   Devah Pager, The Mark of a Criminal Record, 108.5 Am. J. of Sociology 937, 957-60 (2003).
 6
   Ames C. Grawert, Cameron Kimble & Jackie Fielding, Poverty and Mass Incarceration in New
 York, The Brennan Center for Justice (2021), available at https://www.brennancenter.org/our-
 work/policy-solutions/poverty-and-mass-incarceration-new-york-agenda-change; Terry Ann
 Craigie, Ames C. Grawert & Cameron Kimble, Conviction, Imprisonment, and Lost Earnings,
 The Brennan Center for Justice (2020), available at https://www.brennancenter.org/our-
 work/research-reports/conviction-imprisonment-and-lost-earnings-how-involvement-criminal.
                                                 13
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 14 of 32 PageID #: 14




 mirror or exceed the national disparities described above.7 While Black and Latino individuals

 comprise 17.6% and 19.5% of the New York State population, respectively, as of January 1,

 2021, 50% of incarcerated individuals under custody were Black, while almost 25% were

 Latino.8 Moreover, three-quarters (or 75%) of the State’s formerly imprisoned population is

 Black or Latino.9 As recently as in 2015, 46% of the people released were Black, while 23%

 were Latino.10 These percentages were consistent with the percentage of Black and Latino

 people under custody.

         48.      On the other hand, white people are incarcerated and released from jails and

 prisons at rates significantly lower than their representation in the general population at the

 national and state levels.

          B.      iAfford’s Blanket Ban Disproportionately and Severely Impacts Black
                  and Latino Individuals.

         49.      As is generally the case with blanket bans, due to the wide and persistent racial

 disparities described above, iAfford’s blanket ban has a clear disparate impact on the basis of

 race, color, and national origin. Black and Latino individuals are far more likely than white

 individuals to have a criminal record. As a result, iAfford’s blanket ban operates to disqualify

 otherwise-qualified Black and Latino individuals from living in its marketed properties at

 disproportionate rates. When narrowing the analysis to the qualified applicant pool, these

 disparities persist.



 7
   Grawert et al., supra note 6.
 8
   N.Y. State Dep’t of Corrections and Cmty. Supervision, Under Custody Report (2021),
 available at https://doccs.ny.gov/system/files/documents/2022/04/under-custody-report-for-
 2021.pdf.
 9
   Grawert et al., supra note 6.
 10
    N.Y. State Dep’t of Corrections and Cmty. Supervision, 2015 Releases From Custody (2021),
 available at https://doccs.ny.gov/system/files/documents/2021/11/2015-releases_three-year-post-
 release-follow-up_final_20211117.pdf.
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Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 15 of 32 PageID #: 15




        50.      iAfford’s portfolio includes properties across all five boroughs, and upon

 information and belief, its properties attract potential tenants from all over New York City. To

 qualify for the City-assisted affordable units marketed by iAfford, prospective tenants must

 meet income eligibility requirements based on the Area Median Income (“AMI”) in New York

 City. Under the ANY program, to take advantage of tax credits and benefits, developers must

 reserve a set percentage of units for individuals with incomes of up to 40% of AMI, up to 60%

 of AMI, or up to 130% of AMI. Thus, to be eligible for affordable housing units, single

 applicants in New York City must have a maximum income of $37,360 (or 40% AMI), $56,040

 (or 60% AMI), or $121,420 (or 130% AMI).11

        51.      The percentage of units at each AMI level varies, but iAfford markets units at a

 range of income levels. For example, iAfford has previously listed 44 studio units at 869 Myrtle

 Ave., Brooklyn, NY for single applicants earning between $37,886 and $50,160; 5 studio units

 at 2245 Creston Ave., Bronx, NY for single applicants earning between $48,000 and $103,000;

 9 studio units at 56 Ainslie St, Brooklyn, NY for single applicants earning between $51,738

 and $66,880; and 3 studio units at 104 Linden Blvd., New York, NY for single applicants

 earning between $54,858 and $108,680.

        52.      Using data from the United States Census Bureau, the Bureau of Justice

 Statistics, the Bureau of Labor Statistics, and the Criminal Justice Administrative Records

 System, the likely racial composition of City residents who have criminal records and annual

 incomes within these AMI limits can and has been ascertained through an independent analysis.

        53.      A conservative analysis shows that 10% of Black men and 3.1% of Latino men



 11
    See N.Y. Dep’t of Hous. Pres. & Dev., Area Median Income, available at
 https://www1.nyc.gov/site/hpd/services-and-information/area-median-income.page (last visited
 Aug. 19, 2022).
                                                15
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 16 of 32 PageID #: 16




 with an income under $25,000 per year would be excluded from iAfford-marketed units due to a

 past felony conviction, as opposed to only 1.2% of white men in that income bracket. That is,

 Black men earning less than $25,000 would be 8.1 times more likely than white men to be

 disqualified by iAfford’s blanket ban, while Latino men would be 2.5 times as likely to be

 disqualified.

        54.        In the $25-$50,000 income range, 8.4% of Black men and 4.9% of Latino men

 would be excluded due to a felony conviction, as opposed to only 2% of white men. In other

 words, Black men in that income range are 4.1 times more likely than white men to be

 disqualified by iAfford’s policy, while Latino men are 2.4 times as likely to be disqualified.

        55.        Statistically significant disparities persist in the $50-$100,000 income range.

 Within this bracket, 4.9% of Black men and 5.8% of Latino men would be excluded, compared

 to only 2.4% of white men. That means that otherwise qualified Black men in that income range

 would be twice as likely as white men to be disqualified by iAfford’s blanket ban, and Latino

 men would similarly be 2.4 times as likely to be disqualified.

        56.        This analysis understates actual disparities, considering that iAfford’s stated

 practice is to exclude applicants with any convictions, rather than just felony convictions.

 Indeed, alternative statistical models indicate that the disparate impact caused by Defendant’s

 blanket ban may be significantly greater.

        57.        The racially disparate impact of Defendant’s blanket exclusion of justice-

 involved individuals on otherwise eligible Black and Latino prospective tenants is clear from

 these findings.




                                                   16
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 17 of 32 PageID #: 17




          C.     Giving Individualized Consideration to Applicants’ Circumstances Is a
                 Less Discriminatory Alternative That Would Satisfy Safety Concerns

        58.      Defendant’s blanket ban is not necessary to achieve any legitimate

 nondiscriminatory business purpose. While iAfford may argue that categorically excluding

 Fortune’s clients (and any other justice-involved applicants) is justified by public safety

 concerns, blanket bans are not necessary to satisfy that concern. Rather, providing individualized

 consideration to each applicant’s circumstances is a less discriminatory alternative that would

 serve public safety equally well.

        59.      Nor can iAfford rely on any concerns related to negative housing outcomes,

 such as failure to pay rent or lease terminations. In fact, a recent study found that most criminal

 offenses have no significant effect on housing outcomes.12 To the extent that a prior criminal

 offense may increase the likelihood of any negative housing outcomes, any such effect declines

 over time and becomes insignificant two years after a misdemeanor, and five years after a

 felony. A categorical ban that fails to account for the nature of the conviction, as well as other

 relevant factors, and/or applies an unreasonable lookback period, is therefore unnecessary to

 address any such concerns.

        60.      iAfford may protect public safety and prevent negative housing outcomes by

 employing an individual assessment that considers the nature of an individual’s conviction, age

 at the time of the conduct, the amount of time since the conviction, and evidence of

 rehabilitation, among other factors. Such an individualized assessment allows justice-involved

 individuals who pose no realistic current or future threat to the community to obtain housing.



 12
    See Cael Warren, Success in Housing: How Much Does Criminal Background Matter?, Wilder
 Research (Jan. 2019), available at
 https://www.wilder.org/sites/default/files/imports/AEON_HousingSuccess_CriminalBackground
 _Report_1-19.pdf (last visited Aug. 19, 2022).
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Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 18 of 32 PageID #: 18




 This more targeted and narrower approach both protects public safety and is less discriminatory

 and exclusionary because it reduces the number of Black and Latino applicants who would be

 banned from iAfford-marketed properties.

        61.       This framework is not only reasonable, but it is well-established as a less

 discriminatory alternative by HUD, and it is required by HPD.

        62.       In 2016, HUD issued guidance on the use of criminal records in housing

 transactions, recognizing that “[b]ecause of widespread racial and ethnic disparities in the U.S.

 criminal justice system, criminal history-based restrictions on access to housing are likely

 disproportionately to burden African Americans and Hispanics.”13 It specifically warned that

 “[a] housing provider that imposes a blanket prohibition on any person with any conviction

 record—no matter when the conviction occurred, what the underlying conduct entailed, or what

 the convicted person has done since then—will be unable to meet [their] burden” to show that

 such a policy is necessary to achieve a substantial, legitimate, nondiscriminatory interest

 precisely because an individualized assessment that accounts for relevant mitigating

 information, such as the circumstances surrounding the criminal conduct, the age of the

 individual at the time of the conduct, their history as a tenant, and evidence of rehabilitation, is

 an obvious less discriminatory alternative to categorical exclusions.

        63.        As of January 2020, HPD expressly incorporated this guidance in its

 instructions to its marketing agents, directing that “[a]ny rejection based on criminal justice

 information, pursuant to the Marketing Plan, must be consistent with current HUD guidance”




 13
   U.S. Dep’t of Hous. & Urb. Dev., Guidance on Application of Fair Housing Act Standards to
 the use of Criminal Records by Providers of Housing and Real Estate-Related Transactions
 (Apr. 4, 2016), available at https://www.hud.gov/sites/documents/HUD_OGCGUIDAPPFHA
 STANDCR.PDF [hereinafter “2016 Guidance”].
                                                   18
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 19 of 32 PageID #: 19




 and that “HUD Guidance supersedes any contradictory information in the Marketing Plan.”14

        64.      In a June 2022 Memorandum, HUD reaffirmed those principles and provided

 additional guidance and recommendations to facilitate implementation of the 2016 Guidance.15

 The June 2022 Memorandum recognized that housing providers’ “written and unwritten policies

 and practices” concerning background screening may create an unjustified discriminatory effect

 in violation of the FHA, and reaffirmed that individualized assessment of relevant mitigating

 information from applicants with criminal justice involvement is likely to have a less

 discriminatory effect than categorical exclusions like iAfford’s.

        65.      Consistent with HUD’s Guidance and Memorandum, as well as other applicable

 anti-discrimination laws, regulations, and policies, HPD has issued detailed guidelines requiring

 that HPD-approved marketing agents engage in a substantive, multi-step individualized inquiry

 of justice-involved individuals.16 Pursuant to these HPD guidelines, housing providers may only

 consider convictions for a limited list of offenses that involve physical violence or adversely

 affect the health, safety, and welfare of other people. HPD guidelines specify that such

 convictions are “not grounds for automatic rejection.” Rather, housing providers must engage in

 an individualized analysis that considers the age of the applicant at the time of the offense, the



 14
    N.Y. Dep’t of Hous. Pres. & Dev., Marketing Handbook: Policies and Procedures for Resident
 Selection and Occupancy (Jan. 2020), available at
 https://web.archive.org/web/20201115182027/https://www1.nyc.gov/assets/hpd/downloads/pdfs/
 services/marketing-handbook.pdf.
 15
    U.S. Dep’t of Hous. & Urb. Dev., Implementation of the Office of General Counsel’s
 Guidance on Application of Fair Housing Act Standards to the Use of Criminal Records by
 Providers of Housing and Real-Estate Transactions (June 10, 2022), available at
 https://www.hud.gov/sites/dfiles/FHEO/documents/Implementation%20of%20OGC%20Guidanc
 e%20on%20Application%20of%20FHA%20Standards%20to%20the%20Use%20of%20Crimina
 l%20Records%20-%20June%2010%202022.pdf [hereinafter “June 2022 Memorandum”].
 16
    N.Y. Dep’t of Hous. Pres. & Dev., Marketing Handbook: Policies and Procedures for
 Resident Selection and Occupancy (Aug. 2021), available at
 https://www1.nyc.gov/assets/hpd/downloads/pdfs/services/marketing-handbook-8-21.pdf.
                                                  19
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 20 of 32 PageID #: 20




 amount of time elapsed since the date of conviction, and evidence of rehabilitation or good

 conduct, among other factors.

        66.      iAfford meets none of these requirements, and in fact, its policy as stated and

 applied is just the opposite. iAfford automatically excluded Fortune Society’s client solely

 because of a past conviction in April 2021 and refused Fortune Society’s efforts to appeal the

 denial. It most certainly did not engage in an individualized review. And under the current HPD

 policies, iAfford would not have been permitted to even consider the type of conviction that

 resulted in the automatic denial of Fortune Society’s client.

        67.      In the recorded calls with Fortune staff and FHJC testers, iAfford employees

 repeatedly confirmed that iAfford automatically excludes anyone with a conviction, with no

 regard for the type of conviction or underlying offense. Because it categorically rejects justice-

 involved applicants, iAfford does not consider factors such as their age at the time of the offense

 or any mitigating circumstances.

        68.      To make matters worse, iAfford disguises its offending blanket ban as an HPD

 policy, telling prospective applicants that it is required by or consistent with HPD guidelines. In

 so doing, iAfford not only discourages and excludes eligible applicants from the affordable units

 it oversees, but it also discourages justice-involved applicants from applying to any City-assisted

 affordable housing opportunities. The effects of iAfford’s blanket ban thus extend far beyond its

 market reach.

        69.      By flouting the above HUD guidance and HPD requirements, iAfford not only

 disregards its obligations as an HPD-approved marketing agent and monitor, but it also

 knowingly violates the fair housing laws and regulations underlying these.




                                                  20
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 21 of 32 PageID #: 21




  V.     DEFENDANT MAINTAINS ITS CRIMINAL BACKGROUND BAN TO
         INTENTIONALLY DISCRIMINATE AGAINST BLACK AND
         LATINO PEOPLE

        70.      iAfford’s intent to limit Black and Latino people from applying to live at the

 City-assisted units it markets is clear from the categorical manner by which it knowingly

 discourages and rejects justice-involved individuals in clear violation of applicable law and

 regulation.

        71.      First, the disparate impact of Defendant’s blanket ban is so large and foreseeable

 that Defendant’s intent to discriminate against Black and Latino applicants can be inferred. The

 rates at which prospective Black and Latino tenants are adversely affected by iAfford’s practices

 is dramatically larger than the rate at which prospective white tenants are affected. As described

 above, otherwise-qualified Black applicants are up to eight times more likely than white

 applicants to be barred from iAfford-marketed properties, and Latino applicants are up to 2.5

 times more likely than white applicants to be excluded.

        72.      In addition to the sheer breadth of these disparities, iAfford should also be aware

 of the discriminatory effects of its practices as an affordable housing provider in New York City.

 Since at least 2016 and as recently as June 2022, HUD has publicized that exclusionary practices

 like iAfford’s disproportionately burden Black and Latino people.

        73.       iAfford also has direct and specific knowledge of this discriminatory effect

 because it serves as an HPD monitor. iAfford therefore must be—and describes itself as—“well

 versed” in the HPD policies, which expressly state that excluding applicants based on justice

 involvement may constitute unlawful discrimination. Despite this knowledge and awareness,

 iAfford maintains exactly the type of policy that both HPD and HUD reject.

        74.      iAfford’s intent to discriminate can similarly be inferred from the fact that it has



                                                 21
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 22 of 32 PageID #: 22




 knowingly rejected the individualized assessment process that HPD contemplates, even though

 HPD explicitly requires this process to mitigate the risk of a disparate impact.

        75.      In sum, iAfford deliberately chose to implement and maintain the more

 discriminatory method for criminal record screening—automatic rejection—and thereby

 excludes a greater number of prospective tenants who are Black and Latino. One can infer from

 this knowing and informed decision that the foreseeably disparate outcome identified by HPD

 and HUD is exactly the outcome intended by iAfford.

                            INJURY TO THE FORTUNE SOCIETY

        76.      The harm inflicted by Defendant’s discriminatory blanket ban is great not only

 in terms of the sheer number of people affected, as shown above, but also in terms of the

 devastating consequences for each affected individual trying to reenter society. Preventing this

 harm, or at the very least minimizing it, is central to Fortune’s mission.

        77.      Fortune has been directly and substantially harmed by iAfford’s policy and

 practice of discouraging and categorically excluding formerly incarcerated individuals and

 others with criminal records. Defendant’s discriminatory actions have frustrated Fortune’s

 mission of ensuring that formerly incarcerated people can successfully reenter society and obtain

 safe and stable housing, forced it to divert resources to address iAfford’s discrimination, and

 diminished its ability to carry out other programs and initiatives.

        78.      Fortune’s mission is to ensure that incarcerated and formerly incarcerated

 individuals become contributing members of society and to offer alternatives to incarceration.

 As explained above, access to housing is foundational to this mission. Fortune conducts fair

 housing investigations and advocates for clients who have been victims of housing

 discrimination. In addition to working with its clients to obtain housing, Fortune addresses the



                                                  22
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 23 of 32 PageID #: 23




 stabilization needs of formerly incarcerated individuals through educational programs and

 activities including, but not limited to, educational and outreach efforts, trainings and technical

 assistance, webinars, conferences, publications, community events, and social media alerts.

 Fortune also works to increase the awareness of policymakers of fair housing issues by meeting

 with local, state, and federal officials to advocate for strong fair housing laws and policies.

        79.       For example, in April 2022, Fortune conducted a Technology Fair for its clients.

 As part of a housing panel, Fortune hosted an HPD Outreach Coordinator, who provided

 information to Fortune’s clients on finding and applying for affordable rental housing

 opportunities through Housing Connect. Fortune’s client outreach efforts like this panel are

 directly undermined by iAfford’s discriminatory policy to screen out and reject justice-involved

 individuals who would otherwise apply via Housing Connect.

        80.       Defendant’s discriminatory conduct frustrated Fortune’s mission by interfering

 with its mission-related activities, impairing its ability to achieve its goals of ensuring equal

 access to housing opportunities for justice involved individuals, and, as described above,

 harming the community that Fortune serves.

        81.       Defendant’s discriminatory conduct thus forced Fortune to engage in numerous

 activities to counteract the real-world effects of Defendant’s unlawful conduct, policies, and

 practices. Among other things, after learning about iAfford’s policy of discouraging and

 categorically rejecting justice-involved individuals from affordable housing opportunities,

 Fortune was forced to divert scarce resources it could have used to provide housing and other

 services to instead identify, investigate, and counteract iAfford’s discriminatory conduct.

        82.       Fortune staff has expended a significant number of hours investigating iAfford’s

 unlawful police and practices. This investigation included interviewing the Fortune client who



                                                   23
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 24 of 32 PageID #: 24




 was rejected by iAfford; helping them advocate for themselves and request relevant information

 to appeal the denial; conducting phone calls with housing case managers who worked with the

 Fortune client or submitted housing applications on their behalf; collecting and reviewing

 documentation (including the denial); researching iAfford’s policies; and calling iAfford to

 inquire about the scope of iAfford’s discriminatory policy while advocating on behalf of the

 participant and the right of Fortune clients to access affordable housing.

        83.      Fortune has also expended time and financial resources in coordinating FHJC’s

 investigation of iAfford’s practices.

        84.      In addition, Fortune has diverted resources to education and outreach efforts

 directly and specifically aimed at countering iAfford’s discrimination. After learning about

 iAfford’s discriminatory practices, Fortune was compelled to invest significant resources in

 training videos and other advocacy resources to educate advocates and housing providers about

 this issue and rebut the impression that such categorical bans are permissible.

        85.      In direct response to iAfford’s discrimination, Fortune specifically allocated

 $11,000 to create advocacy videos that address bans like the one enforced by iAfford. In

 addition to the hard costs of these videos, Fortune staff spent scarce and valuable time on their

 production, time that would have otherwise gone toward serving Fortune’s clients.

        86.      iAfford’s blanket ban on justice involved individuals seeking affordable housing

 has also disrupted the housing pipeline from temporary to phased-permanent to permanent

 housing Fortune provides to its clients. For many of Fortune’s clients, City-assisted affordable

 housing opportunities are the only accessible permanent housing option. Due to iAfford’s

 discriminatory practices, Fortune must continue to provide temporary housing and support to

 individuals who would otherwise be qualified for these affordable housing opportunities. But for



                                                 24
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 25 of 32 PageID #: 25




 the need to address iAfford’s practices, Fortune would have directed these resources to other

 efforts to further its mission.

         87.      Housing discrimination frustrates Fortune’s dual mission to provide services to

 justice-involved individuals, and to advocate on criminal justice issues. In particular, providing

 housing services and advocating for clients’ housing opportunities are the cornerstone of

 Fortune’s work, as housing is critical to its clients’ stability and ability to successfully reenter

 society.

         88.      In carrying out activities to counteract the harm caused by Defendant, Fortune

 experienced a drain in its limited resources that negatively affected its ability to function and

 operate. Fortune was forced to divert significant staff time and funds away from other planned

 activities to engage in counteraction, for which it did not originally budget time or money.

 Counteracting unlawful conduct by Defendant prevented Plaintiff from engaging in other

 activities that are important to its mission. For example, Fortune staff was forced to divert time

 and resources they would have otherwise been able to spend helping Fortune clients put together

 housing applications and support packets, advocating for legislation protecting formerly

 incarcerated individuals from discrimination, and engaging on education and outreach efforts.

         89.      Until redressed and permanently ceased, iAfford’s unlawful, discriminatory

 actions will continue to injure Fortune Society by, for example:

                  a.      Interfering with efforts and programs intended to facilitate the successful

                          reentry into society of justice-involved individuals, including the

                          provision of safe and stable housing opportunities;

                  b.      Requiring the commitment of scarce resources, including substantial

                          staff time and funding, to investigate and counteract iAfford’s



                                                   25
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 26 of 32 PageID #: 26




                         discriminatory conduct, thus diverting those resources from Fortune’s

                         other activities and services; and

                 c.      Frustrating Fortune’s mission and purpose of providing services to

                         justice-involved individuals and advocating on criminal justice issues.

        90.      Defendant’s discriminatory policies and practices are intended to deny and

 discourage, and have the effect of denying and discouraging, formerly incarcerated people an

 opportunity to obtain affordable rental housing in the New York City region. These policies and

 practices adversely affect Black and Latino people, are not justified by any legitimate business

 need or necessity, and cause injury to Fortune.

        91.      Defendant has engaged in the discriminatory conduct described herein

 intentionally, maliciously, and with willful, callous, wanton, and reckless disregard for the rights

 of Fortune and the substantial harm caused to its clients.

        92.      Within 10 days of the commencement of this action, Plaintiff will provide notice

 of this action to the New York City Commission on Human Rights and Corporation counsel,

 pursuant to the New York City Administrative Code § 8-502(c).

                                      CAUSES OF ACTION

                        Count I (Race Discrimination—42 U.S.C. § 3604)

          93.    Plaintiff repeats and incorporates by reference all allegations set forth in

  Paragraphs 1 through 92 above.

          94.    Defendant’s acts, policies, and practices have an adverse and disproportionate

  impact on Black and Latino individuals in New York City as compared to similarly situated

  white people. This adverse and disproportionate impact is the direct result of Defendant’s

  blanket policy of automatically refusing housing to all people with criminal records with no



                                                   26
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 27 of 32 PageID #: 27




  consideration of their individual characteristics and circumstances. This policy is not necessary

  to serve any substantial legitimate, nondiscriminatory interest, and any such interest can be

  satisfied by another practice—providing individualized consideration—that would have a less

  discriminatory effect.

         95.     Defendant’s acts, policies, and practices have been carried out with the intent to

  discriminate on the basis of race, color, and national origin. Defendant has adopted and

  maintained an exclusionary policy regarding the use of criminal records with the intent and

  expectation that the policy disproportionately prevents Black and Latino individuals from

  obtaining access to housing.

         96.     Defendant’s acts, policies, and practices constitute discrimination and violate the

  Fair Housing Act, as amended, 42 U.S.C. §§ 3604, and its implementing regulations, in that:

                 a.        Defendant’s acts, policies, and practices have made and continue to

                 make housing unavailable because of race and/or color and/or national origin,

                 in violation of 42 U.S.C. § 3604(a);

                 b.        Defendant’s acts, as described above, provide different terms,

                 conditions, and privileges of rental housing, as well as different services and

                 facilities in connection therewith, on the basis of race and/or color and/or

                 national origin, in violation of 42 U.S.C. §3604(b); and

                 c.        Defendant’s notices and statements have expressed and/or continue to

                 express a preference, limitation, and discrimination based on race and/or color

                 and/or national origin, in violation of 42 U.S.C. § 3604(c).

                  Count II (Race Discrimination—N.Y. Exec. Law § 296 (5))

         97.     Plaintiff repeats and incorporates by reference all allegations set forth in



                                                  27
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 28 of 32 PageID #: 28




  Paragraphs 1 through 92 above.

         98.     Defendant’s acts, policies, and practices have an adverse and disproportionate

  impact on Black and Latino individuals in New York City as compared to similarly situated

  white people. This adverse and disproportionate impact is the direct result of Defendant’s

  blanket policy of automatically refusing housing to all people with criminal records with no

  consideration of their individual characteristics and circumstances. This policy is not necessary

  to serve any substantial, legitimate, nondiscriminatory interest, and any such interest can be

  satisfied by another practice—providing individualized consideration—that would have a less

  discriminatory effect.

         99.     Defendant’s acts, policies, and practices have been carried out with the intention

  of discriminating on the basis of race, color, and national origin. Defendant has adopted and

  maintained an exclusionary policy regarding the use of criminal records with the intent and

  expectation that the policy disproportionately prevents Black and Latino individuals from

  obtaining affordable housing.

         100.    Defendant’s acts, policies, and practices constitute discrimination and violate the

  New York State Human Rights Act, N.Y. Exec. Code § 296(5), in that:

                 a.        Defendant’s acts, policies, and practices have made and continue to

                 make housing unavailable because of race and/or color and/or national origin,

                 in violation of N.Y. Exec. Code § 296(5)(a)(1);

                 b.        Defendant’s acts, as described above, provide different terms,

                 conditions,and privileges of rental housing, as well as different services and

                 facilities in connection therewith, on the basis of race and/or color and/or

                 national origin, in violation of N.Y. Exec. Code § 296(5)(a)(2);



                                                  28
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 29 of 32 PageID #: 29




                 c.        Defendant’s notices and statements have expressed and/or continue to

                 express a preference, limitation, and discrimination based on race and/or color

                 and/or national origin, inviolation of N.Y. Exec. Code § 296(5)(a)(3); and

                 d.        To the extent that any Defendant acted in its capacity as a real estate

                 broker or agent, its actions also violate N.Y. Exec. Code § 296(5)(c)(1)-(2).

           Count III (Race Discrimination—Admin. Code of City of NY § 8-107(5))

         101.    Plaintiff repeats and incorporates by reference all allegations set forth in

  Paragraphs 1 through 92 above.

         102.    Defendant’s acts, policies, and practices have an adverse and disproportionate

  impact on Black and Latino individuals in New York City as compared to similarly situated

  white people. This adverse and disproportionate impact is the direct result of Defendant’s

  blanket policy of automatically refusing housing to all people with criminal records with no

  consideration of their individual characteristics and circumstances. This policy is not necessary

  to serve any substantial, legitimate, nondiscriminatory interest, and any such interest can be

  satisfied by another practice—providing individualized consideration—that would have a less

  discriminatory effect.

         103.    Defendant’s acts, policies, and practices have been carried out with the intention

  of discriminating on the basis of race, color, and national origin. Defendant has adopted and

  maintained an exclusionary policy regarding the use of criminal records with the intent and

  expectation that the policy disproportionately prevents Black and Latino individuals from

  obtaining affordable housing.

         104.    Defendant’s acts, policies, and practices constitute discrimination and violate the

  New York City Human Rights Act, Administrative Code of City of N.Y. § 8-107(5), in that:



                                                   29
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 30 of 32 PageID #: 30




                  a.     Defendant’s acts, policies, and practices have made and continue to

                  make housing unavailable because of race and/or color and/or national origin,

                  in violation of Administrative Code of City of N.Y. § 8-107(5)(a)(1);

                  b.     Defendant’s acts, as described above, provide different terms,

                  conditions, and privileges of rental housing, as well as different services and

                  facilities in connection therewith, on the basis of race and/or color and/or

                  national origin, in violation of Administrative Code of City of N.Y. § 8-

                  107(5)(a)(2);

                  c.     Defendant’s notices and statements have expressed and/or continue to

                  express a preference, limitation, and discrimination based on race and/or color

                  and/or national origin, inviolation of Administrative Code of City of N.Y. § 8-

                  107(5)(a)(3); and

                  d.     To the extent that any Defendant acted in its capacity as a real estate

                  broker or agent, its actions also violate Administrative Code of City of N.Y.

                  § 8-107(5)(c)(1)-(2).

                                  DEMAND FOR JURY TRIAL

          105.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all issues

  triable as of right.

                                      PRAYER FOR RELIEF

  WHEREFORE, Plaintiff respectfully prays that the Court grant it the following relief:

          (1)     Enter a declaratory judgment finding that the foregoing actions of Defendant

                  violate 42 U.S.C. § 3604, New York Exec. Law § 296(5), and Administrative

                  Code of City of New York § 8-107(5);



                                                  30
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 31 of 32 PageID #: 31




        (2)    Enter an injunction enjoining Defendant and its directors, officers, agents, and

               employees from continuing to publish, implement, and enforce the illegal,

               discriminatory conduct described herein and directing Defendant and its

               directors, officers, agents, and employees to take all affirmative steps necessary

               to remedy the effects of the illegal, discriminatory conduct described herein and

               to prevent additional instances of such conduct or similar conduct from

               occurring in the future;

        (3)    Award compensatory damages to Plaintiff in an amount to be determined by the

               jury that would fully compensate Plaintiff for its injuries caused by the conduct

               of Defendant alleged herein;

        (4)    Award punitive damages to Plaintiff in an amount to be determined by the jury

               that would punish Defendant for the willful, malicious, and reckless conduct

               alleged herein and that would effectively deter similar conduct in the future;

        (5)    Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 42 U.S.C. §

               3613(c)(2), N.Y. Exec. Code § 297(10), and Administrative Code of City ofN.Y.

               § 8-502(g);

        (6)    Award prejudgment interest to Plaintiff; and

        (7)    Order such other relief as this Court deems just and equitable.


 DATE: October 28, 2022                             Respectfully Submitted,
                                                    /s/ Valerie D. Comenencia Ortiz
                                                    John Relman*
                                                    Lila Miller*
                                                    Valerie D. Comenencia Ortiz*
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                                                    RELMAN COLFAX PLLC
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                                               31
Case 1:22-cv-06584-PKC-SJB Document 1 Filed 10/28/22 Page 32 of 32 PageID #: 32




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                                      32
